C_ase 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 1 of 25

8 L)|STF`.iCT CC)UFi

 

 

 

v N r)F. c;)F N Y ::1 2
FZ€_ED q
`UNITED STATES DIsTRIcT COURT 2012 "CV" 1 8 4 6
SOUTHERN DrsTRIc'r oF NEW YoRK DEC l 7
t t ' » “ ;A\/va were z~< assert/in clear
Nzl.\cho\a\ Cc\\\tln E / ,,
ats D EP
(In the space above enter the full name(s) of the plainti)j‘(s).)
COMPLAINT

-against-

 

Jury Trial: ?§Yes Cl NO

(check one)

 

 

 

fl s ', . l l 1
dane ct+”g"ae/»)g'/l ._('he’»e~l/s’

 

 

 

 

 

(In tim space above enter the jilll name(s) of the defendant(s). If you
cannot jit the names of all of the defendants in the space provided,
please write “see attached " in the space above and attach an additional
sheet ofpaper with the full list of names. The names listed in the above
caption must be identical to those contained in Part I. Addresses should
not be included here.)

 

I. Parties in this complaint:

A. List your name, address and telephone number. If you are presently in custody, include your
identification number and the name and address of your current place of confinement Do the same
for any additional plaintiffs named. Attach additional sheets of paper as necessary

Praimiff Name M\Ci'\()\€‘ C_Gt\\/tn. qi ~“A Oll§
StreetAddreSS 0 r @..\”\ \ tr € HM}. M:l'_\j
County,City j 'Ol O`)< U~OOO
Scate&?.ip€ode §+wm\ttlla nlan \torl< 125§5'2_

Telephone Nurnber

 

 

B. List all defendants You should state the full name of the defendant, even if that defendant is a
government agency, an organization, a corporation, or an individual Include the address where each
defendant may be served. Make sure that the defendant(s) listed below are identical to those contained
in the above caption. Attach additional sheets of paper as necessary

/

Rev. 05/2!010

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 2 of 25

groce QOOG/ T°_t: howe been gcdl?+r'r)|c' harassed
l::> 1 Cortec“l':`@ttol ample ecs) rt\clfo l\/ ,~ l]lculcnanl:s
of l\/etu Vorl< gloria - apar'l'maml chc:` Correc'-l»lonctl
§;er\tl'c-@:>' w/rl/) ed .Saerns '+01 5‘+e,n)1-'necl ‘lcle»h't ct \ocl<
olo<.,uo in Qrean l-lo\\/an Correc-lt`ono\l i~oclli"l~\` in k
ZZ.OOC)), when l y\?» ch> accused by ltaL/\~l~cr)cxrt'-l:; 01[`
Cctcr$t 113 “+ha"; lthtCl€t”lix

Cin january tl'*‘w 2oc19 j /'lfna years /a~l'er/., l lucas
s-lal/.)loeel tel-ih a pen on m up er rtjh+ l~')omol) k
hhocl<ecl unconsclocts') ethel ~ll'l:cn 5a)<'uctll assaul+ed
fn Cl rn +01’15 A n n ex la ' ~l'w o lnmai(\ toll/10 co t 1' <;

hnl`laehcaol rla ol@ 3e1 l“)7 cit ll'c.,cr+e.n carlin

k :l: Ctrn ol't)g' lot 'i) rowe +hcrl .-éic\cl'~r de-F`€rldo rul
loe/low o:> <;)Q.clrmc ina 1'5,:1€§|”)€:1ns'1`l')1l[~l~\/ `lor conspiran
111“1+11 each oiher` lie lori n 511 aloe al in martial `
lllness) even lhaah 'I:<:»o dol howe way l:»u+
crcCoro/ll'nc ita l\/lDP` "hcry'l lVle cr§) il Clc» l")"c\\/c.. 01
rr)er)~icrl il nass) ethel olls<> 1»»11\/ physical harris

\.

SQQ, @'><hllo{+ :D '~~l""or rn ©lt:cigribsls l¢,>>/ /\l/l)l’° Cher/'l
l\'lc>/ers') jorge 8 owl 122 ) canal ll?)C/\§re:. ll C»t~l lLt 1
E><l'illa¢~l . is emma a-l‘ my COPM ranscrip+$) 5 [)aqas.

SQ,<~; Q)<hll/.).i'~l~ E for hjc\ci\£j€ Ololrl<§"S C)t(.`>l€t' for

®

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 3 of 25

/

016041461)141'01”1 , 634 01-4661 4\'401\/ 3144) 12014) i?. 113 61,<:16~1 .

§6€_ 6:)<`4144344 :4: 406 ms 611’46>.»"'611166 04014664 `:4_0141'12'441)
2 66`(4 W41464\ : 4’10\\/€» 4\446404 1641‘\46. ': 1)\;3(1/;1 11’1. 041414061
31101“1‘6)6141(‘11014 4:‘06;4414~ 436ch 01156` l 663 61 3 1104
L}6441\1(} 4416 7\6\36\ Clc)§ot(j< 634- 1’1’1>/4~’146“4’1343406304
131‘621551311`€ 506 1601~11631"1 !3tll 51

In 10YIT6147112+4' 200 6116\01066 3 Pcija/`3)
613<41'140444/',]: 44616. rnealicamltor) 441014 `I 100/3
164015406 01441146 `I__ 1130/ts 10 @111400 061166410004
~C'\ct\\~`t\ 11~30;;1 4416 1116(.416041611 44104»- 1_,\1 113
1611461r 111 01/ 641654 4~1111'4416101616) 44 014561
1130/3 461<311\1~03 1106 146/64 \/61’\// 1 "1/-6.'11\{ 634'111\ 011/104
4,\4(_`,(."14’\¢

/31013401 0450 516 6364~114314 141 401 m l‘lo11r:41`24'4+4;)
2644 631'16\!610663 245 ¥113(,<)>6 )\3\341164'1 ..L 4001\/6 ~4:44604
1041446 _L 3 360‘3 10 6461’141'0`1444\61,3 4414<1 ls)/cl11<1411(
1260-466 431/44 4”41"-141044”100/ C.Ton';dl'_z@ :4)11'.€(;-401'
446)1‘ 011’~\6\/01066 6>440411041“63[301104 464141»
440006\/€,1')NPFJ/C416r l 4\/46\ 615 410/1 wilkerth 40
1011 444011'641264)2011 4061011166 10 C001r4 Olt»trm
ll16 11160/1661//0/1 1166111116]1 Je<;. 6314~114314 4:4) 1501)6 l
614 23

5\1'<:1‘\/)44»1411, 631 013 40 4 4.1~103:'13

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 4 of 25

Depenol@n4s

44601~4€0010~4 (40\13034@_) pm 5-11;61

4.4@01-4€0¢11/1-4 `3~<)411~1 Do.@) Pm 341'1€+

44@‘/1“4€0610-4 Qmivm) am 5411'§~`~4

4"41'- 456111001447) Oorrec-Hon Cwn;elor) am 541`144
4-1'€¢1460004 1404/m Dae) am Slw`¢+
4_1'@0-+6116111+ D'§»hn 'D<M) am 51;,;,0¢
4_1'@_0~1631611+ ?)’?,1111 '13@@, gm 1061
4_460146001/1~/” 363410 :Doe) am 6411'44

Doc-l'ar 240410 or 'T<me :Doe.) am 111,°{‘_1;
®

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 5 of 25

C<>rr@<;~+£@n OW\'¢@¢ Tokn .'Do@) Pm sm£`+

DOC+@r gj_<;h»n D@.e) cm or Pm ship+

L£@u+emn-+ :J;¢m 309 w §»,.;r+

L;w+e-.»,M+ ‘szm 1306 j mm §11:¢+

D@¢+m- V@@O¢<A) i: \O€.\\'@v@ ~`H»Q+ 84 kernqm@ am
Mr. D@'nalo| SQwYew) heed @~F ch?/, Q~M g),l¢+
MS' C%€r?/{ Ne'»/ers) NPP) ams%»if*+

MS. ?a+r:¢cq ~L. ”TM<,M) am <~L,;c+

Mr, Minv,@§j 5@4@4.71 j W§m+

@

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 6 of 25

Mr. /\n~\r\non?/ Qonzo\\ez, "D{rec+or fair @»ria\/m)c§ am

Mr. \/e,rnon Vonolo\

'Insq>€,c,-\Lo~r Qenero\[ j_¢)%n sz) gm SMH-

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 7 of 25

Defendant No. 1 Name
Street Address
County, City
State & Zip Code
Telephone Number

 

 

 

 

 

Defendant No. 2 Name
Street Address
County, City

Stare&zip€od@ ..S`e,e. ct%faahara( <l`%e.e~@\

Telephone Number

 

 

 

 

Defendant No. 3 Narne _
Street Address
County, City
State & Zip Code
Telephone Nurnber

 

 

 

 

 

Defendant No. 4 Narne
Street Address
County, City
State & Zip Code
Telephone Number

 

 

 

 

 

llI. Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court: cases
involving a federal question and cases involving diversity of citizenship of the parties. Under 28 U.S.C.
§ 1331, a case involving the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U .S.C. § 1332, a case in which a citizen of one state sues a citizen of another state and the amount
in damages is more than $75,000 is a diversity of citizenship case.

A. What is the basis for federal court jurisdiction? (check all that apply)
KFederal Questions l:l Diversity of Citizenship

B. If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right
is ac issue? 1 n ama “‘- 2,00 ‘ __ l A _ \ a ' ~ ¢. §§ t,(I-f'ec(
_~ WG nn d _`Ao €T€ 4 l’Vl',u v Q.v §

 

cl m itZeM-i-e/\_A gun-b

C. If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

Plaintiff(s) state(s) of citizenship
Defendant(s) state(s) of citizenship "

 

 

Ii’ev. 05/2010

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 8 of 25

i._teat+@nom-Jr mott]qta:} rim skill

01 VEQ“D HC\,`\/éir'l C O~rt€tlii~tl'.a vital `i-Ct(;l\\ l“i)/

']D» 0 BGX L}-Oc:ir;»

.S~/'Orm\)i/iej lk/eto YQ;~)*{< t25..§?2_ Moraiq)Lc>¢?B

“'Trfa@l ~ic) l<'tii ma by tn-i~`luen<:ad ai-F?‘F'i§;€rs -l<:,»
`E§f|!(;u'i'),r)"lé".©( m'~ l;‘l€’Otd ii”“tch“> Gt tua)ti€. /'\S`> Ct F€SU|`[')
injured my interim Cino( C<;i'at$"_t¢ng me »i'cs 1’)¢: '
ib‘l»@\\,'t`mj mem(/r)/ /Drc)b/¢Zm$’ f‘f"¢]l’l~i flc':wal, /At)"ic;»/
"’lpri`ec,{` “)LL‘>~ "“i'etrn mci a)<:iy . gee Q><h”tbii» A
pagan ij L;r/ 5} cmc,l"` 6 ~

i.-l<: at~'i-€mai’l'+ john :)o€) Pm sf1f-F'-l~

§§c:»‘al‘ilnpori‘ Corre?a:'i'~t‘ot'wii i;.aictii"-i>/ Tat(\€.) 2003
lij;)» (:) 1 B<:i;<` 'ZOC)<:»

i")rne C{+'y, Mecd %)r;i< iL,LXZ/`

Cl.cm$j:>ircta:‘/ '~i‘a>> 'i'r>/ ‘~i'd “i'atrrl me gat>/) Om(`ii
fiat-ir Wc\~i‘€t‘ th my ~pt:»@a)l. AS` at r€S,-`LLH), l
audit/§ S+cir\/€Ci_» gee ~Q’)Ciniioi+ A Paj<?/c 6/¢7/,0~10{ §

i,-teu'ienci¢n~i ®a.ltmn) aim sla§-Pi

§Q~ltilourn C<)rrec“{‘i`@n<rl i:cta’iit'-iy ' `Z.C)Ogy
i“). O» Bc)>< é/X

fdltuioair:n) l"’\(eco Yarl< 13021}

G,Q‘ns'fai'raia>/ ~i~a> +r>/ id ~i'atrln me gov)/) Ctt'\a>l
@

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 9 of 25

i'npiut>,na€d an.€ 511:‘)<111111( 01§5`01111§+. 15121/# 11)<\1~[11:)14» A
~‘:>119()/1 ‘“) 1131) il omci_p 1121 Ltaati»anem+ Quinn annot
i.-ieat+enc\n+ >aie»n m iri/te SQW\@ f)erso"n»

Mr, KQi’\\”\O\\,i\/? CC)\'\‘€_:C"'iC»¢”l chawr$e'ia>r ' labng
AL»\L)LM'D CG'FV€C'HOMX[ i:a;\a;¢\i'i'i->/

P 0 /Bo’)< 613

A\L|l;ournj _New Yark' i'$c»~=QH

1:.:€11'\$‘{)11‘01(;'" "i'o inaip Clott,t$’€d rH’)@ §GXUC\{ 013`$`£111[.-1
u'~'i’>/ 571/1110 1115 i”"lél '+01 0[1"1')+1:11")15' /*\nné’)<'» gee QXi/~{i.ioi¢i
1¢~\ page 111

i_.t`ea¢'#+encm~i- `j@lm Dc;1e) am ship-1 "'
Q.iin‘i'm’l’$ Ann€>< Gorr€a:+i'onaxi FdCtii+>/

1 013111111 :1-11111 1111
j_-)C?iii'li’l€'»’1'1<;1:'€11) /\!;1€,»~1 >/11 ri< lZC/`ZCI )

C`.ons`piroaf 'i-o "ir\`-i“o> ji“c»trn me 301 ) flowsch ’H'ie
:3.'111<1101{ C>t§$o\¢({~+) Oma;i 1111/stead 1'\’\€11 gee Qx'ln'zloii A
.1:1€1<?)€2\ I'Z) 13) lij 176/1 amc 171

i_.\'ea/t'i»am;>\n-i' john D'o»c) am sh£H \_~_labraLm»(') '2_1':»0€7
Q§\\t\‘\'ojf\ \\/\o\n garrea~i:tonn\ \:`ota.¢\\{%~\[‘

i“‘» 0 »-B<>“><` QGOi

i,.)aa'ntiatnorot) /\f~eca" yari<; iZC/Z 9

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 10 of 25

(':‘¢m.gpitat€ * 'i'c' 4-1)/ '~i-z;» cause m>/‘ 111/131:1#1 lay made

me feca/111 11»/111:. /’111..5’\ 1161/1 51»1»11 e»alu?.la)i+ A 11><:131:1 15 axrwi
l‘i1`_ii’tis lireu~iendn~{~ miss in-F"lue:naea.i cm inmwie o
walked riJh~i» upon me amd badei i:)o+~l~eol ma O\ 1111
ian<)ci<eci W\e 411 ~i»b<; OjroamOL O‘i:i(i'c:er ’Benei S'~iomoi
tip Om®i 15`1:11,11 €'very:i*i')i`nj l l:)ct~i~ did nd~‘i 010 C>a¢’l\/'Hairt<`j »
"I howe re'por+eai 1'+'.0~+10@ Tn.§joaa+ar Qener~éli1 “

i_.. 111 wien 61 1141 j- 01 in n ® 1111 11 m Siw't-¥`f.g,-
(;E|.G><Scaa'kte. C<)rrec~ir"ondi excii{+\/
.\t‘),. O,BQX 206

i:i`.@)<$ct<:k-ia, j l\/'ei:co :>/¢:,k 12015/

`:B</. wee/vt ZOU‘f +ZQ‘{C)

C:Yonspi`rcta;)/ -io ivy rio ~i-um tne_("o.y 1 C»mc»i -»pu-i'
`l"L’:ii’\J§ `H"l F'Yl\/ "("'OO /(j \M\’\iL\r] mO\(`/{;:", v ¢: "T'~" 1 .-.',.. me V€F"'/
5ch 1 gee @')<Hs\:)i+ /\ page/3 ICI and 7

 

L:i\eori'e§:m:w’l~i~ john :Doe) am siai-H
§:>eii{i\/Om CO|":'€C-i~~l‘amml i:c)tciii`»jr\/ 'la)l©
1`1: @io rio‘i‘ k`a»~\o111~~i»heir~ Qdo(r-es‘s

C.,onsf>l'rcia* 4a1 ~i’ry '+cz> Ca1a1$~€. m ciaa\~iia b
.r N q * ‘ §
tr'l-iiue.mamj 01 doctor ‘To reaia1lac/Eci_1'n1 szh ble-eci
”J~rei' 511 rQ,. medicar}[¢:> 17 1 ASS 01 resat|+) I `611!1')~1115“4¥

Oi,(@,‘i"r(>m hazarqu Q~vL+aa/i., §11€1 11*»<\'{1101'+ /A\ ;pc:ja;;‘lh

Dc;»<;“i-c:r y:j’ohri dr jane :DO€) crm sh}£"+

@

‘2,@ 111

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 11 of 25

_‘§¢,¢Hz,\/an Corfe:c;+i`@n@\ \:‘1\<§\{+\
wl 910 n@-J- knew “H‘\€ir ac»lclr@€§

(:‘.Cirl$f);l'(}\@\` '+O "l"i' _l`@ CO\U.$€”» mt d€Cl'l'/'? b r€€l¢l€;nj
m h 1510 lj{<?ocl PZ<»‘:S`SU¢“@ i"¥l`@cz{c”,€x‘{;z`c)r)» 1/3!;010¢§1:. a t
lfzul'~'k:nom~{'~ ’/'c»/c{ hfm c)r heir 7¢0 O/c) 501 AS <:~.¢. r@§@l¢/»}/
;[ G/rr)€f§‘¢ 141/111 761an 51':0/'~} csmL'v[Qc:i<.` , 51:<1 €‘)<Hib{)r /i\

§) 1136 21 _.

flcf>rf€€.+\@n @{'Fl<;€i‘ J@¢"m:DO»</; )‘ Pm Sh‘.f+
_'§)m|\x\;<::m Co»rrc/",C~H@ncd Yc);c:£?;l"+~\
il Ci@` “O‘¥ KY\ @‘v\‘» “HW:W C>\Cl@[ 1°€$5 » `B@~+w@@n 3200‘{1?'~20¢0

Cc»nsplumc ‘+0,"\¢;\5“11\~11<,>\ W\€: On HX r“`i'j\¢jr `l’w\m:»l): Qm<;(
§:»11'++<;»1\1:'1¢ wo§rer m mz'~ 2;»11<>1» 5 01 resulqu I c@wi@l
H<>+ </31,)14~ W\\/' FOGGI , §11 1 Qz<lq,il:);‘~# A ]DC\c).éA 20 and 2l-

[>OC'“I”O|’ ._jqo"\n :DOG) OLW\ Or Pm SM-FHL
/~"\Hf)<>m>/ MQQHCQI Cen'lr'<£r Hosp}'4-al 2,<3<1'>§’

Ii: C)(O nw~'{- know ‘Hwe{r Qc>lc»lrez$$»

COHSP’;I'OLC£/ “\'C» '4"¢" "_"}“O +UH'Y\ me Qg(,\ 13 `;\/é‘.}“) mel

, t 4 . mata _, ,\J v -1

iw)ec)hc;ovlr¢ n ~l~lm%/‘Qr)/c~wrjn/):L m>/ C 151 /-\S a ream/b
mr C/")G.S*zL ¢W?',/f:\ 5`<:1_10 //€fl» V<:’,r‘ \ l:Cj ) C’H’l@( W Cl/"k Pckémwr)cj

ma Ww /3¢;1.@//%. I IUVE ,-6_1(),..1€01 "_1.10 1%& 11
'1`"‘5"1”‘€"' '“L‘” 1@“@“1{ » 1 <:<: <».»><.l»{:b»:-+ A PO\§;Q: 111

@

Case 9:12-CV-01846-GLS-DEP Document 1 Fi|_ed 12/17/12 Page 12 of 25

Fll;.`isé bi‘J¢'€wWCKn‘-\" _:O>¥\-’H’\ Dc»»€ '-) Giw\ 5`11;§5~¥
.`\L~)c)wn §Mv¥e;, Cc.»rr@<:-Jr{`om\ Yc\c<'l{~~\-'\/ \/'<’,cu” 10 m
:]‘:: Qi 0 n CV+‘ kn(§"b‘\) `H’]Ci l‘ C't CiO*h'€.l§ § ~ '

@.cm;z-Pl`s'c;xc~ ‘*i"c)y in'(-Eluer'\€(’i’lj C‘H"l \s’\z’\'\cr+z/; "1'0 U~§<:YC( @\

\;;ll\’r*r»c <: {Ov<;>:<\ ~H:» Sc:s"»u;»':cl mci <m§! "`<;»<;¢cj . A_<; ca msc/ihb
:]Y: C'¢t»,=(,il]¢[ Hc)+ £»;cmL 1017 ¢cmc;{ 1 \ 623 éi')<l'?ill;)vr+ A chg€. 21 v

L./'e ¢H"emqn+ o:S~Qlfm Dae. ) am S'lr»i~F‘i~'

S¢"nc §a'nc Cc'rre<:'HcmC/?\'{ \:Lxc{\i"jr\,/ 766'£.1"'20("/"
575 H\Lm'£€r §‘}Ll‘-€/,€w’¥ l

C§SS;V]i“/')j) /\/CC\/ VO'/”/§ /¢?562

OOHSP;VG\C' "}'C‘ '|’r)/ '!~O \__C(,xL/LS¢:»: i’h f (G{€,&~{'-l? by 1'#’1-[?/¢,4(§¢"‘)£,:(1"7\?
0 @\@C.»+m in §,'n §mg C<…@Z+;…/ F¢\C;/;~+' 11 ~

§e'ncl m P<:»+O\$S`¢?Cim l'H€¢)/z`cc\~~}"@fl J….<, Sc'n'z€wjmr<:; Q/S€
c:>»H')€rr '£lqc;m m!~/ c:.€//¢ /~`us cl rasmqu ".I crilmc»s-+` G¢'{e, zL}-¢>m

h@c¢r% cz%%czc/\ 566 €:><M 1014 F "~P<);cj<i 1 Pz.;>\rc\€jr<)\ h L¢ »
A.i$@») C<;'ns'pe}¢xc~ ira 4r 40 mm {`w'\é; ~<;\7/) k,x/ncfpu+
Hl')z;;/)‘c S m GmG{ 671 my fe 6701 m 11 c'c: h m 115 C,. ,'72»£. "\/<::¢'"7 31sz ,
§iez; Qv<\qlfo;+ A `{)oc§~e¢f> Q’Z) 2'5) canal 24 .
[;)<:»c;+€)~_r \:ic:>\jc QU\S ] `.I: be,\\he,\/Q ~Hq CA{- L/.§. h er n@\w\@ ) am 5\;..§§9
C..:w{'\ §>m l Qjorre.c~]rf§o'\”\<x\ '\:’c,\c‘»\\’~jr‘:{"
35 H}LMJF~€F S+r€i@:+ § 20 \C>
Cf'>§${m\»\§, /\/@W Ym~k /@562

@

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 13 of 25

420{751341‘01€)/ 40 411604 40 136/1050 117)/ 04601441 43\41§400)1/1?
'5150 4/16 ad /nF/¢,L€nc:é:: 044 01 410114000114 m gmc

Si>tq 00H'6C7510)7014 4:6161414 ' 011/104 §<20]04 m 1)0401§311,10/\
100601,60~4101'1>¢4/0 40111166047<”/€- 664§6 04 4160 \/470111 1101 £0’44
4\&§ 01 1’»€00|44~ :l: 6141110§41(>40:* prcan 4760115 04150164< 566

121<4114:>`14 43 130610: 1 1)0.16130<)= 341 11~
4`40.~.':4)00101404 3010/60914§0 47<:0.04 04 4\401\'1;,\/
k

;;61’\40014 4\4<€<,\1 Vor 1/011014016 4460\460
41 0 1 Bc,>z< 300
4"4<110~\',. /\4610 V@,»f< /'3003 1600 2010

401446;61704), §/5044 750 9614 400/16 411)14 04 6416.)0)1¢61440
00%40064 "AS 61 111 0144] ’_7: 0/»»10§/ 0//'0144 /5/<:0/1004
404 640)’:4 416/104 4116/111 1116 4000 11116<4¢00)§ 4<: <,
02164114044”A 136::1~0;) 15) Z.€;/ 27) 1101(4 241

fi?&n$»;rc&€.z/ ’4'0 *4'15/'604 40 Ccu..($’-@ m/ 6460¢75/7 4’)/
j

04160!4 446 601 )!NPF

4`61"1~4;1<14 4\4600 401’4:\` §71€4110411( 661”1461
44 54 4 0?< 300

4‘4 4',0\007 fmch /004§i /3<003 4'40\117)1€@44

4_‘01151)40010\/ 40 41~1604 40 caver 11:) 50101,1614 01<.:$0114 45)>/
1104 00170 041110 44 1114161 F<: 014 566 00/100~/1~4 04
<£><…1141) 47 z 13 &/3 :4_ 447rCL(j4/4 '4 ['\/CV) '754'10£44

11011')4' 44 4704/6 404<4 4)01 1116111\/ 04 7501/101 4?104

4110/x 36‘2<01044~/ QSSGLLJ 466/1465

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 14 of 25

n1A<1.SC)] Con§‘ H'CX "1§6 ?\\16/11 m€ 61 0116‘{611'16.§15‘ ~1¢116:1»1;
_L__ 616 1461 1101/262 §6/712@/31'11'6/1(01 /1®61/61/’)¢.‘1€(1 /CQ,)
1/16101116’16)/ /‘/cx//L/C//’)U)L/¢>/?S 0 \§6.6: 61< q110 -1,» :D/Jq
19 22 611§1:» §C;<-;; 66111161~€ :DP 11"|¢{ A'ncl§€
1135 61’10'1*1'?1§ m@c)11661~110r1 ~1‘1161+ IP ’ 1’16»+1@6§61» §6§

<i'f'z<’\ 101,'1'

1""'1§ Pa1r1616 1_. Tc»01‘z€:601

1*'::‘€1`q`1'r€`\1 1\1@(»&1 Y@f`k §P§YCI')i-Cl'+rl'@ G€ln`+@'('

13 C»:)¢ BO`)( 36"(’:? '

1"1(;116'7/, /\/606 york 13111')"3 1“16\\{ 1'1) 2911

126051311’016\/ ~16 “1”1'1§61 '1'6 C6V6r 111/3 §6)<`0/1611 171§§’611111
1“3Z 1361 Fé{fo’r!'i Vlj'l l"/L 113 /761/' f€:'/\6>r1[' $6;6' 1<'_)<1')1131“1 Q|
13 961 l 611/161 2 L‘ vein 11161@/1 />/0111'1~111/ 1261§ 16161
116r 6110661»1' ~'1'1’16, f€)¢cicx( 61§§610(1 1"1* /~\1§6‘;1) Cc‘n§/Olrczc}/
-10 Cj\\/€/m 1416 61 6110'1610¢»51£ qL/om/~ 1 6/1:» 1101 1761/61
361112_6[)1/11'611101) 13116111`1`6161"111611601 w pc~:)
/‘171'1566£01 16r -1§6/76111 :131§6110161) 136 rO161”111"1C
h_1_1’)16/1€61616 1:011101;!/111) 366 6')<111101+ C, lmje;

A1`161 1387<11301'1“<: ]CHC m€jdlca¥'z€»rl *1'1’161"‘1':6~@1

1’)6661.$66 6&1111)1'-1

11r 1/111111011 51016111

1_;'1\1€_1\-11“011606 York s\/C11101~1-11C 006-161
0 .~ 13:)< 300
1\’)101\'€,7/) /\/6.06 Yc~rk 13110'3 HC\]{ 11) 1011

@

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 15 of 25

1':011$1311"[1€‘ `4'€1 ‘4'1'1¢04 401 CO\/€/r 0113 Se><`MO`ll 1355610144” 43
1:`104 f01’30r41r13 446 1111 11'141'1 1'(;1>014* 500 <1<411401'4 4'4131:19
11~011 1 irwin 447004'11 13401141’1414',4` 4000/\ 404 J4%
4;111'7'1 014.00014 444;,6 50><1/10\4 C1>§01<;l44 A450) Cc')n§PirOlC>/ 40
1111/011 ma 01 04101qr1001> 44101~4 l 040 1104 4101\/0)
`“)04112_113411“01‘1161 43010111010411/1)0 1, §00 0>< 4114014 4“4
1)019€, 2 1 /\1’164 13>\/1;4"10 4r01131L 1310041(.04~1<)'1 441014
1’: 040 D04A71€€O4 ~§>€€' 11)€4144044 g

/\114410111/ Co))z<.|?;) Dn“cdm 401 111<\,011100
(,011~41'014 4\40110 )/011< §~,104110141”10 C@V41;1
0 BQX 300

4"401rc>//, 4\0110 )4:111<1141103 4401104'1 `ZC4)10114

C 01'1§1)1101€7 40 144/004 40 001~"01"' 1413 .S<z')<‘_u<x{ 01§§010144
4C>Z 1104 r0/1130n04m 40 Mm/ 4\/401r04w 2‘4'*"" 1011

0\/€111001»1'11000 Qor)za_lez 001 received
111 4\/4<;110412€1+")201,r\€mncc. 4)001:1111§0 /\//3/)
4'_.}4401' 4 M€;"€r§ 4160{\ 4`§;4`€'1"¥€;04 40 44 411 C001r‘4
041/umc 4110 m0,044004:4<;111 4/10¢11”1'1*1?. 300 01<41'14044
[.) 1101"110, 11 01 zz. 1

®

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 16 of 25

:'\/ézl‘non FO¢'\QIQ

§I)@qu+m€#n+ 09 C@)r'rc:c;‘]ki”`@nml15151~~\;1'@@/>

M:|'h@. chrrf\ncxn S+ow¥/:: Cc)zn~'\P<.a$--¢P)c/&\\d§nj'*%FZ
1220 Q\/\/c,"z/:;\\'\\`nc+@f\ A‘\/Qmu.c: `
l’\\mn\ 1 N<»:W" Y@,»I< /~2226

/'\HOWQ;,C>( ‘~Hq€; S€‘z<~L/§c\l OL§S`CLU\H ~}‘O 1507 Q;'n<;;©l»

.S.Qe. Q)ch"\%{»{/ B . E,<h`ibf+ B 1545 respond »G<;wn 441@
:.`[ns’ e;'<::-~[;m Q@ne:rc\( Cl'§ F (?"1‘<,.1;/, Cc!nc¢;"rn fm ‘ fame of 1111
i€~l' »c"i'“l§ } / 9 C"/‘ 7¢/?61/1.'1»7) d/\//vzo<iA_ : //zc'{ L»\,»’ 1'"1?7"7['67’| `TL'C)“
‘"HL/’) 61 ::mf/Oé C"?Lo'»i” 616'7/1€:'1"<::¢{ 116/ir f}'C_‘¢ 7 w 77 ‘1/1 `~ "/”(_;1 L/\,=“ 11 a ~»{~'
/i:é;,¢¢'{€»')/l 5117~/~§' ~Li/x.-’c>’r"<; <§/afrj c 1775-ij _W)@Y Clr€, m cychle .

:1:1'7~51‘)€`¢"‘/“0 f` (:\1€‘/] €L|“`G“'\l j_~c’l'| 1’] ®O€T ' Gu‘v\ Sha`{+
13€1)07§" mem+ op Cc) r ra;<;-Hc) rmi S/éi¢`“'»‘ 1'6'5~6¢"*

'W) e'; HOlrr{m am S+c)¢f€; C 01 m 13 L,/;§;- 1311 11“@[121.13 1:1 1
1‘2`2<77 \/\. am h { nJ»P 0 m /~\ ‘»’e:» m m 15 " '

4_

lh\NC)ch’)'\//) /\/€w y@rk' /‘2’226

/Z-\HOWQOI 41’)€: Scz<¢m{ <l§§ou,\-lH" ~Lo 1\0\1)1)¢1,,@01' -/'1:“>

14 n 373 E`C"jLOr Q@"'?@"Cl{ C@\Wl€ '+c> 5 c:.€;,d ma ~.'.z 17 A .'T. C 1 °`:|:
//1@11/0,‘»,¢'07/ charter ‘7¢/1@ §(;/:'»<¢m{ gm 56111 113 566 add 1311
'A Pc§j@ 17' /:\’§Oj ES'C,~C, exqu L, t1 "B.

®

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 17 of 25

llII. Statement of Claim:

State as briefly as possible the §L:L§ of your case. Describe how each of the defendants named in the caption
of this complaint is involved in this action, along with the dates and locations of all relevant events._ You may
Wish to include further details such as the names of other persons involved in the events giving rise to your
claims. Do not cite any cases or statutes. lf you intend to allege a number of related claims, number and set
forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

 

 

 

 

r
A. __`Where did the events givi g rise_ to your claim(s) occur? Cl [ n~l' 0 n A (\ (]Q,`)(

( orrec.lgtoncal lactlt~r\l//, 10»2 atlhr,_. 1 lor:m.
B. What date and approximate time did the events giving rise to your claim(s) occur?

:mectarv ll"“‘/\ ‘Z_C)C)q, A.\opm)<imotl-elv L,.L O'Clocl< atm.

 

Knoc\(e<l

.C. Fa<:rs: On jonotorv ll*"' \'2 oo<?. '_'11 \M@A’l` unconscious Omd

 

 

 

`ll'\ n SQ')<mo\ll-tz OlS§mtl-le/, lsd ~lvoo }\'nmoel»€/\ colors

What
happened
to you'.’

 

 

 

 

 

l.u<zr€; \’n'l»`lotencaol o drs .<;,0 h7' 04 lt'eq+€.nmn+,

 

 

 

 

Who did
what?

 

 

 

 

"'_Xi believe -l esa ’ too_§_nn,r\et~am ooere,
l5 ctan l`l Cul;>@s. 1 §0\\ ll ¢A mm §_c:aus»<i,

 

 

 

 

 

 

 

 

 

 

 

\ne\- same nrth be-lbre, -lln`e, osgotul* a_

 

 

 

else

involved'.’

\,\t<lll<eol lbt;tssé'dl l5 tiele oncl §ol\,o l`l/Ct,ll:)e,

 

wm..y.,,.e in 15 Cub< Omcl loo~lln ol`+l’iem ware \rlhis',per\ng

 

 

 

;l'c each O'Ll_' et“,

 

 

 

 

Who else
saw what
. ,.,

 

`W\e-ra umw vm one2 la <;»e, \v\\mle@l.

 

rr

 

 

 

A/Z? b@cl;/ filed culm% //)a//;'//)~e/\/i_eQ/,

 

IV. Injuries:

if you sustained injuries related to the events alleged above, describe them and state what medical treatment,
if any, you required and received.

 

 

        

Ou'“a <;l _m\/ re<;+otm wo 4 lou`m'n m€ \/ ;t'\/_
lmle l{/ \1 lip \,~l)Cl/) .<jvdol.lenl anal also l’-)lce '. 1'3. l"l rtg[l}il_-
l n.¢¢;‘l. lan»’e \'-~;\'t ¢i¢.
lm_a'_€§a“$ _4 l~ . . .. rs "" "l"¢in» ’-'q ¢

lon§p }lr l S+ovtcl ¥o`r alwth ~l‘w@~ minu+€/>) »'»'\\1 back s+nr]"t"'
lmr~l\»jtj OMcl m\l ~rtgl¢\'l‘ leg St’,‘l'S \/ér_\{ tjm'ttlo. "llt€,‘n l w'\l l lam/fl
'lo S\-l clot/vw 1 wmm+ 1191 onyllnn\ l\eov<zr' diana n <Z‘thW`»

Rev.o5/2010. S&’_E, UL"\'“YO~C QLG Yl'\ gill

         

 

 

 

 

 

 

 

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 18 of 25

Pljl)l flow .`_l: 01111 W§thl“itrlcj tulll\ 671 llrr§_)§> l66c11\<6

l"l'l\ lOt/d€"`{l l('~‘““lll lOC/ltl<§ l”l@; l bfli’ ll 56\1’616;l0l6111201<T1§C(>l
llwt~l 1l l’l62,:l l161 1§1 §<11Cl11116 6)<61‘61616#1¥16 136/1111

Ol 016)11 111 11 -l1l~lf1_':1 \~u\rl~n<,rmort,) .I <:‘-cxnno»l
lib€ll@l 01’61 C/tl”l<)l S‘~lOll 11' ll»ml 1031"l“'1011 l<71' 20
-..>666'>/1“16(/§ ._l.l:l.: § 010 ‘ll'ltcll -1’1'17/ whole lf)c.‘tCl/ geil$` Ve €_‘11/
l”lo111’ll3}, cttlllt;`tl011/161l“l'1'r61 Al$©) ..L. 6011'1110-l >ll 1
`l'OO mg l')€.l"@-rc 1111 113th leg 361+§ 1163 r\/ 1111111l0) Ctl$c

tl_l”l€.’?/ llC/'\'\.;"C FU\ll/l(`("l ll’l\/ )6.‘&61

l\‘l{?/ rléCl<. t/> .5`1:)1/n6117l101l -ll16 5011116’ soo ll._L '" ",1l1 111

111 »66‘:1<. 011"10l§l01::7ls l:)<:l)lll<:l 1116 1101 rllo<»ttl 167 SUc’>lclS)

”l"l%‘; l“/lclSC/{§l 111 I`/ 61`;)/~1'01€/ 1911(1§ 111 L61l"'1,ol6; il£.<::ls
<')€:l~s ‘\,6! 1162 f fl116;/ 011<;( 1~l <1}/ Qlc'll"i‘c,ul~l-

l@r 1116 lclrvl ll loads o11017111cl

:l;"l“l _\ lll€. 5611116 1,\76`1\/ ll".;\: ll0lCl il Clc:>totl lOI
CfllOOt/tl lO 01 |5 5@6<)1’161{/>)l‘l”16?1’1 :l: lth\’C lc;~ llolOl

1-ll:)c11:ls up >QC(W<<JF JQJF§ §C§\ § §C§/ %§§,,*
01\_‘§0 .

:nt>@RTsu~r No'r'r;s

Al?c~ wl 06 yeotl 6$1116)( 01 llclll` tll"l€r jrl/16 tt§scaclll)
01 lawl<?\l€: .Ll"LSl:)é'Clz>t 0€1161<1l 601/116 le 566 1716 10

@

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 19 of 25

§1'1"1 §1'11 Corrc:<:|mr\a\ \:cxc"\h\ 0111@1 311<1
1<1' 1'11` 10<1€111@111 11c111 1111 Ccncon 11 1111
<;,1'15.$¢"1¢111 and 1111 ._L 1111\,< 11< 1¥11€¢11'<\ 6111>/1111113
10101 111 ll111 a 'In$p@.c+@ r L} 611 ach :3111@€1¢ `

:1; QANNQT PEMEMBER SoME
O1F THE MC)NTHS AND DATEDS
TH¢\T SOME OFTHE _.D_NCI EI\ITS
H/\?PENED ON BEC/\USE C>FM MY
“BRA:N :NTU'RY

 

 

 

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 20 of 25

V. Relief:

State what you want the Court to do for you and the amount of monetary compensation, if any, y_ou are
seeking, and the basis for such compensation

, ¢.

      
   

 

 

 

§§ pt 61-['4/~01¢.[;') ¢’cj 577 e:€?%§

 

Cl/s<<:»

 

 

 

 

 

I declare under penalty of perjury that the foregoing is true and correct.

Signed this ____ day of , 20

signature ofPlaimiff a Z%z¢/z/z¢% C{Zéc/:MJ-'
Mailing Address (_!,tzz-en lieu am C!m'r, Fac,~
. O - 13 og< afooo
S~l-a rm\/'tl\e.~\ A/etd Yor§<,[ZSS’L

..J
Telephone Number

 

Fax Number (ifyou have one) ___

 

Notg: All plaintiffs named in the caption of the complaint must date and sign the complaint Prisoners must
also provide their inmate numbers, present place of confinement, and address

For Prisoners:

 

ii declare under penalty of perjury that on this day of , 20_, l am delivering this
complaint to prison authorities to be mailed to the Pro Se Office of the United State District Court for the
Southern District of NeW York.

Matthew J. i":itr;znd Slgna[ur@ Of Plamtiff? MC/’l M’{ C[¢,{/‘"b'~

my "“90 q',,,A ,,,O w §
mait‘ti`é€ilt\'i)'utchess county

My (35\11 ."~‘Expires Q/‘j[, ,2_6/§/
/’Z%'Z?‘/;Jq MWML/ f

Rev. 05/20]0

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 21 of 25

--_-._¢

._/__ meet/d //'/<"6 “['h@ j'uclg€ +0 KHC)LG 'H")ct»l I do
1104 have ca mental illness because tdhc>¢+ :l: l~ic\\/¢~z.
..1,)€€¢1 Cp»i'r'iplai n tit/ij aboath lift reed {~i\/ “ 1 in<>wcv<¢§:r) :I:
tit/m going o{¥`©o~§ tire pt'@;'ili§@ci op %\f/JF Clier~»\[ ‘

file €";‘5`)! :DF» lCt,+t‘iClG\ L/» loseiz'.€ciu) Otnol Dr Mml’tot\].
ti:»c>\o[d\ lt ct+ Ccni~rntl /\/ew ‘/@rl< P§\/ch:oi+ric [.'en+e,r
“`H”t@t"+ §>Ot>/S i'ld@t“i I G{O I’th‘\/éf Qt l'l"`l€f’)nl'@t' l Hr"l€i§§ .,

_`l I ]'16\\,"’€1 been Q\/¢:){c¢@+€d b /\/p/) Cl"lc"l' l [\167‘>/`€,|“§)
Dr. P<;t~lrvi`cid L. Te>uz€otu) cme( '.T)r~ M{`nlwtj §ow{'ei{cli
614 Cct“l+rct[` N'e;<,o \7"01'|‘; rPS)/Ch\“ottri(? C€n+e"r O\i')d
.t;icc@rcit"nd “l'c» /V’PPJCf/)er l Me er$ :[. have
develc) 201 C>t mental dis/tde:t ~1[4.~<>»11~140@, SQ;><UQJ
cts$¢w_+ CotllC/d 5 §C!w'zophrem“al //Dc(rcxrzofol T Q)
il\ udt"+or‘/ /*/c>¢//L/Ci'/'?c‘¢%i`cn§., /\'7€0:":{1'13 that `I ’1'£1’)74/<{
"7‘%@1{ everybody (/.'> Ou+ ‘to either huff or /<‘}// me)
which fci Q‘><’ciC~H ‘ hot/o 'I truly ~ eci because l
home *`Hm`¥ cas wha+ +hey ad Qt6 '+f>/z'nfj +o do '+o

m€ C»*Fi jemeicw)/ Ii`*f*)ZO'C»Ff/, }%;il m€q`) when '+1/\‘€,:
§ze><uotii>/ ciss‘ou|»icd tit-e. ' ' y

j /4\1'1 C)i' /\J’Fpp C\'t§,r'/f [V‘_€>/CVS id cm C;\\.Sc)' §Ctt€i +\nt>cir il
h'<:w@ bean hecirm ¢\/oiC€/)') which `I Qi@ riot
d~Jre:L/; witqu het'i_» according jo her, NPP Cher f
i"'“ie)/et$) T_ hew-6 been imman \/oi/l”C€/s. /

@

Case 9:12-cV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 22 of 25

At’¥,@l |r"“l OrClCV"_ "‘l”(;t llt'){vr©\/`C; my lt"lOiOlCCciCt~l-'C
n“)@n-%~@,/ C<;»)olf`l'fc,y/, t,o/n"c/) //Q_.l/~!€/')ci¢/;~FS /m\,~.<:/
C-'@tcr:s@'.d) I ne<>::.o/ /:>>’ clm%m/W}: mec/f/zm/>. jj
ham/6 be€l`l“l*c)llimg "»lli)/€ )”ri€dlccalfc)fl S{'¢“')C»€, /”`lctY l'/'":;
20 ll Ct‘r"iCl ’"lt'l'tCh ' lms/icg Sc/Lt’ol "ll*'ictl `I lto~tvc;. 'l~@ ‘ l
C`Ct"i t’z`ttgl€ 'lO\litul"lQ ll L/lt'llll :l: Cll€`, » /\lSC‘/' 'l‘l?é:;
home S@\/erel>/ r"ctt'nc?.ol m:/ lt)c)tcl§i -»ll)<;:tc l~"c\s"`€ t ",L
U…i Sm`r)g lot punitive chimel 651 i_'r) llie om')<éllln~l- el
§§ C)OC>) OC>OF, /77/.//£'0»/7 o/”O/lcir§ lot l:)(;)»ll:) /J/'z>/$lc@<l
Ou’tcl }D.Sy'cliologlcql /)'7]'¢.,//‘,@6/;»a

:l_'. aim ctlso dis/sing \~H'i(:': 'Fuolc€; le Jle;oi:zc; remove
me 'll”c:'m +l)€; C‘<;irrec“l'z`<)vnctl § § am 011/wl fJ wl me l 17
lan Fe@l€roil or C:'ll}y lotll l§l/ez.c<;m`s@. m lil"'@ Ll/.:\
fill ll 1517 great Ol Ot v"i<j€- 1' l“l)x` lt<#;c,/H‘{:;n ct mls ltd
lilc# r tecfl¢`on . /

U_o _@c-l<>loer Q“lll‘ @l<l<‘§"l) when .`l"_. get lockan
14 P lot § C:t m er rel €; f il 701-l l wm l n ~ ns <:» n let co /a [c l')
"l`_ Ol-tl;`)l: I’IO'zL Olo) m>/ bl' J¢Q)l’ lear cwa/§ él‘lz'r.:?
r'g re m _r'lS<;;»rz- Uri ancietr>/H /i"i'l7 2@>2?€/)
ll€,tl'l€rlcm'l'§ l’)O\Ol motle ~ll’\c~t-l *l"!£oil‘)€!ctm€, 'H/) much l
Oltidl `l" t'i"m§~/: S’ci>/ ‘l‘l)ctl' tl") all )‘/"‘)'\ /7£<§’ fcc:/'§ 01"2` j
Qc>\r~l~l»; l hotel t"'i€x‘»l€r efi><‘{$@tl€tic€c/ Otn>/-zl/i¢‘n@ 50
emo+lor)oill\/: l'zur+-l"etl canal demanding el'l")cm Fllm-lj
G'mofll now `IC/ am l low/fi”lc Lt)l~llz “l'l`ijc:f§ »C><'p@tl@ttc C,

l

t.\.,)litclq 95 c)»\lll`€,€':l'tltio ~~l ';t:;. two f item "`§§`1`§1' Ctm ll\//Ji’)j

t e:>

t
`~.

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 23 of 25

m li'~l~`e; '011’1»0,1 411 e:. w c\»)/ h 0 w 'I_ 01 m C<:> m m 121 n irc 01'% [ nj
61 d 5@<;101{\'2_103 111er O+h@rs.

M' 'ch')”)nwlniccx+{am wH~i'-~\ @+hé:r$ L.‘> my#{' HKC/.
Li)e~L")/>FQ.@ B@.-¥`ore, `.`.Il 1,1§1»101}{ held lang 6'0¢11/€1‘5<;1+1011
1111-~"\'\/1 ©“H”\€ 115 13 11~‘}“ 1101/11 111 com m 1411 1661$1)011 1111-117
1';»+%€1‘5 15 ‘J'MOL-¢L `I ~1:'1'1‘101 1"¥1~"5@1~1"" 010 fm least wLoJk{v\j
¢:`11'10{ 113 111 €::\..fc n w 011-11 3m la 3'011*1€:1'11110 13 c r+cd Y\ fn `
110 w hair I:O 1116 111 FJrod l<€ 01 0110 0 1,11£ `I 114 111 el 170-13
1"1)1¢106 w lm;,\“{? “+G) 5301}/ ,

iF\/\\"H”\@_r 1>1110\"€.) 1111 1101 m>+ .Sc»c.Fo\l 1”2.€, 01 l@»»+
311<'€- IOQ¥@F@ l;€.<:.<m/i§;<,, 'I.. ca10 1104 ‘)Lrus'~-I~ QanOc/~,l~>/
151117/1"1'101"€~ ’_L £’~/~01)/ /;1}/ ;)I)y“§’C/F ma §'~{~ c/;.[:"H')€, 1 zin€;‘,

 

q 777@; €/:><pezri@"n€@ 1111 +1'0111111’1@1~~11'2~1\'1 q my @\\‘@"l 1,‘+_.>/
110 @><]i)rez.§ m\/$e|-%, ~-» 1

A\S»'O),`: 1:1’11§,1 1'1\"5€.11[" 010111€' 101 1051 G~P S\<:C, 3»11‘1€‘
11,\;\"\¢(;1~1 1,»,> CCXUS 1116 ~1'\/"`1€', 1101 `1"0 610 @M"l€f` 1111 l) 13 i‘ 1161 11+

'1“111?1'>§<§5 `"'/”<:~f '/<)e:r)€?` 'r:zl' m ‘s'<»:/~F/ /}'/<‘<: .‘ wc»r/</"r) c)L/“?Z'/

mem 110 01 130on m going 110 ‘H")€', 1§_01"1@
l_\brar}j. ' "

I bgl{@jve: 445 mL l me adm 1115 1}@1`1\' 910
r'@m€l.mb€r "/‘1’11/.> -<:1:‘)<~1“)<?4.1’1`@1\€.€ .. )Am€l j: 041§©

@

Case 9:12-CV-01846-GLS-DEP Document 1 Filed 12/17/12 Page 24 of 25

1’:1@|{@\/1: -H\ 014 11 111 301qu '~\'0 01@;`€<}1 ma
n v “__j ~ a
P.;<;\/Chc»l@g¢'colll\/ m c>>n€; way m cmw~Ha@r “)L/;r¢mg;lwu-~%

m>/ /1¥`@ éLr-m@ ..

.,1_ cl .(czl' n.@,»~+ Q,ie,§€ 1~1.»"; ~~sz< 101 .p €. 1*3€<:¢11/1§(; il cl r'c»!
51215 '.:I: 111 601 5’0~1”1“;/ '1[,<`:»1 'H”M;L /<;.>cl< 0/011/1/1 ) 611/611
~1%@>¢131'1 `.I Q)/zc/ 110~~1' @1@ 111 m+€.r)~%zc>rmi!\/»

LH<€- `I hq\v@ &,Sé<eizc,)[ igcsz*é; 'Hml `.`l: mm C1SK{1"111j
1416 `:17‘1/10! e: ~+c P\@@§: 6 r@w\.@v@ m€., ~‘r`n:»w ~H'\€.
C'c>rr»eQ-M<mai 3 S+<z m O\nc)l 1311-1 n"z<: 111 »:H),<;..
jr-‘_je:_d€\'Cnl 01 C»'+" )',c»\'i}>/ 116€.<:11,15© m\ 110-pc (:/5 .CHH
111 3 r€;cx+ 01 01 nj Z/r ‘ by 1121 11+¢::11 <>¢1"1»1*§ fn C @m~</; c.~jL¢`c>» 17 .

      

t_‘]7’)¢;¢~4/'\" Yc)>cl V€ry’ 1’7’)¢11://)»

 

 

§§ wide 33%§3 raul

...

mwmmv mDOQ n=N _EO~.E Qm.=.q__z . 5..\.1.

§

ovo.mo m M

 

Case 9

 

 

